Case 1: 04- --cr 10061- .]DT Document 161 Filed 06/06/05 Page 1 of 3 Page|D 181

IN THE UNITED sTATEs DISTRICT coUWiESTERN mmch OF TN

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EASTERN DIvIstoN
DATE: __§Q_/_!e.,[.Q_S__-

UNITIED STATES OF AMERICA, ) TlME._ q j 3_§ a.m.
Plaintiff, § ‘Y\!§TIALSZ __;e¢¢____.
v. § Cr. No. 04-10061-05-T/An
PATRICK PEARSON, §
Defendant. §

 

ORDER AUTHORIZING DEFENDANT PATRICK PEARSON’S COUNSEL TO OBTAIN
THE SERVICES OF AN EXPERT

 

Defendant Patrick Pearson has submitted an ex parte application requesting that the Court
authorize his counsel to obtain the services of an expert pursuant to 18 U.S.C. § 3006A(e)(1).
Based upon that application, the Court finds that Defendant is financially unable to obtain expert
services and that the services of an expert, specifically a forensic psychiatrist, are necessary for
Defendant’s adequate representation Accordingly, the Court hereby authorizes defense counsel
to obtain the services of an expert.

Pursuant to 18 U.S.C. § 3006A(e)(3) (2005), the compensation for expert services shall

not exceed $1,600, exclusive of reasonable costs.

IT IS SO ORDERED.

QWMAM
:WM§

 

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0 TESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 161 in
case 1:04-CR-10061 Was distributed by fax, mail, or direct printing on
June 7, 2005 to the parties listed.

 

Matthew M. Maddox

MADDOX MADDOX & MADDOX
P.O. Box 827

Huntingdon, TN 38344

A. Russell Larson

LAW OFFICES OF A. RUSSELL LARSON
P.O. Box 2 1 63

Jacl<son7 TN 3 8302--216

Richard L. Finney

HARDEE MARTIN DAUSTER & DONAHOE
213 E. Lafayette

Jacl<son7 TN 38301

M. Dianne Smothers

FEDERAL PUBLIC DEFENDER
109 S. Highland Ave.

Ste. B-S

Jacl<son7 TN 38301

J on A. York

PENTECOST GLENN & RUDD, PLLC
106 Stonebridge Blvd.

Jacl<son7 TN 38305

Lloyd R. Tatum
TATUM AND TATUM
P.O. Box 293
Henderson, TN 38340

Jerry R. Kitchen

U.S. ATTORNEY
109 S. Highland Ave.
Jacl<son7 TN 38301

Case 1:O4-cr-10061-.]DT Document 161 Filed 06/06/05 Page 3 of 3 Page|D 183

J. Colin Morris

MOSIER & 1\/1()RRIS7 P.A.
204 W. Baltimore

Jacl<son7 TN 38302--162

lack Colin Morris

LAW OFFICES OF COLIN MORRIS
204 West Baltimore

Jacl<son7 TN 38301

Honorable J ames Todd
US DISTRICT COURT

